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November Tl, 2020

Category: Fundraising Share:

Tomorrow -— Celebrate with Make
the Road NY!

Javier H. Valdés Deborah L. Axt
Co-Executive Director Co-Executive Director

The big night is almost here! We hope you'll join us for the
Dignity, Community, and Power Awards Gala this Thursday,
November 12 at 6pm EST.

Be sure to bookmark maketheroadny.org/gala, where the event
will be livestreamed. We'll get the party started with a DJ set at
5:45pm, and kick the program off at Gom.

Though we can't see each other, we want to know you've

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victories this year Oe
Join Make the Road New York for our Annual
DIGNITY, COMMUNITY & POWER AWARDS GALA
Thursday, November 12, 2020

6 PM EST ONLINE

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This year’s Dignity, Community & Power honorees:

The families of New Yorkers impacted by police violence:
Gwen Carr, mother of Eric Garner
JUSTICE COMMITTEE
Victoria Davis, sister of Delrawn Small
SISTERS OF JUSTICE
Natasha Duncan, sister of Shantel Davis
JUSTICE COMMITTEE
Constance Malcolm, mother of Ramarley Graham

JUSTICE COMMITTEEIsrael Rocha and the Care Team at NYC
Health + Hospitals/Elmhurst

Greisa Martinez Rosas, Executive Director
Cristina Jiménez, Co-Founder

UNITED WE DREAM

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Are you ready to go to the polls this weekend? That's right! Starting tomorrow, Saturday, October
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Charles Joseph
Partner

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Fax: 212-688-2548

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New York, New York 10004

Knowledgeable New York City Employment Attorney Charles Joseph

Attorney Charles Joseph is a founding partner at Joseph & Kirschenbaum LLP. He is admitted in both New York and
federal courts and is one of our firm’s class action litigators, pursuing wage and hour and other types of employee
rights claims on behalf of large groups of similarly situated individuals.

Prior to forming Joseph & Kirschenbaum LLP, Charles Joseph was a litigation attorney with Debevoise & Plimpton,
where he practiced for more than six years, largely on behalf of corporate clients. In 1997, he went on to found
Joseph & Kirschenbaum LLP because he wanted to help workers who had been wronged by unfair employment
and wage practices. Since then, he has helped Joseph & Kirschenbaum LLP grow to be the respected law firm that
it is today, winning numerous major legal victories for workers in all occupations and industries. This includes
recovering nearly $100 million for workers throughout the country.

Charles is a graduate of New York University School of Law from which he received his Juris Doctor in 1990, He is
currently pursuing a Master's degree in history from the University of Edinburgh School of History, Classics and
Archaeology with a focus on the history of the Middle Ages in northwestern Europe. Charles is fluent in Hebrew
and Yiddish.

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Charles is active in several professional associations focusing on employment law, including the National
Employment Law Project, the National Employment Lawyers Association and the New York State Trial Lawyers
Association. He is also a supporter of the World Wildlife Fund and Make the Road NY, an organization supporting
working class Latinos in New York by providing organization, advocacy, education and services.

In addition to all of this, Charles is actively invested in improving his vibrant and diverse community, and was
honored for his pro bono work by the Lawyer's Committee for Human Rights for his work obtaining political
asylum for China’s leading literary dissident, refugees from Pakistan, Sudan and Ukraine as well as life-saving work
getting the wife and children of a Haitian rural organizer out of hiding in Haiti and legally into the United States.
Charles worked on behalf of The Center for Constitutional Rights to bring a mass-murdering eastern European
political leader to justice under The Torture Victim Protection Act. He has also been active handling housing cases
pro bono for indigent tenants, family law and child support cases on behalf of indigent women and criminal
appeals for indigent defendants.

 

Bar Admissions

New York State, 1991

U.S, District Court for the Eastern District of New York, 1992
U.S. District Court for the Southern District of New York, 1992
U.S. District Court for the Northern District of New York, 2006
U.S. Court of Appeals for the District of Columbia Circuit, 2006

 

Education

J.D., New York University School of Law, 1990

Bachelor in Religious Studies, Rabbinical College of America, 1986

 

Professional Organizations

New York City Bar Association

New York State Bar Association

New York State Trial Lawyers Association
National Employment Law Project

National Employment Lawyers Association

 

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Workers who suffered wage theft, discrimination or other on-the-job injustices need an advocate who knows the
law and has their best interests in mind. Attorney Charles Joseph has dedicated more than 21 years of his career
to fighting for workers in New York and throughout the United States who have been abused or taken advantage
of by their employers. If you believe you have been denied wages or subjected to discrimination or harassment,
contact our firm today to arrange a consultation. We are available by phone at 212-688-5640. We can also be
reached online. Se habla espafiol.

 

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"Just wanted to let you guys know that things have changed alot since the winning of our case against my employer.
About 2 months ago, | was chosen to become one of the shift supervisors for security. It was an honor to be given this
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representatives, and | never thought | would have so much personal attention from a law firm. Again, thank you for
helping me move on with my life."

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"| would like to thank Joseph & Kirschenbaum LLP for all the services your firm provided for me in my time of need. You
helped me through difficult and emotional times with understanding and great talent. | can't thank you enough for
helping me get more of a settlement than | ever thought | could get."

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